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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF COLORADO


       In re: SBN FOG CAP II, LLC                                   §   Case No. 16-13815-TBM
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         M. Stephen Peters, Trustee, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $707,261.03                        Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$2,608,437.45       Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$293,622.50


         3) Total gross receipts of $ 2,902,059.95 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $2,902,059.95
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                              $0.00      $61,600,291.00              $0.00             $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         176,119.24        176,084.24         176,084.24

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00         117,538.26         117,538.26        117,538.26
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00          85,501.75           3,720.25           3,720.25
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                      2,170.65     108,762,162.67       3,357,366.82       2,604,717.20

                                            $2,170.65    $170,741,612.92      $3,654,709.57      $2,902,059.95
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on April 20, 2016.
  The case was pending for 19 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 11/20/2018                 By: /s/M. Stephen Peters, Trustee
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
              DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     PROCEEDS FROM CT APPROVED SALE OF LEASES                                             1129-000                               2,901,706.90

     REFUND OF LEASE SEC DEP                                                              1229-000                                    353.05


    TOTAL GROSS RECEIPTS                                                                                                     $2,902,059.95

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED            PAID
                                                       CODE                6D)
           4 -2 Stratford Holding LLC                  4110-000            N/A                20,147,643.00               0.00                   0.00

           4 -3 Stratford Holding LLC                  4110-000            N/A                     28,740.00              0.00                   0.00

           4 -4 Stratford Holding LLC                  4110-000            N/A                   328,015.00               0.00                   0.00

           4 -5 Stratford Holding LLC                  4110-000            N/A                20,369,569.00               0.00                   0.00

           6 -2 Stratford Holding LLC                  4110-000            N/A                20,726,324.00               0.00                   0.00


    TOTAL SECURED CLAIMS                                                          $0.00      $61,600,291.00              $0.00                  $0.00




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                              CLAIMS            CLAIMS          CLAIMS        CLAIMS
                                       TRAN.
                                                      SCHEDULED         ASSERTED        ALLOWED         PAID
                                       CODE
 Trustee Compensation - M. Stephen Peters,     2100-000         N/A        110,311.80     110,311.80    110,311.80
 Trustee
 Trustee Expenses - M. Stephen Peters,         2200-000         N/A            979.45         979.45       979.45
 Trustee
 Other - INTERNATIONAL SURETIES, LTD           2300-000         N/A            837.77         837.77       837.77

 Other - CALIFORNIA FRANCHISE TAX BOARD        2820-000         N/A            800.00         800.00       800.00

 Other - ARIZONA CORPORATIONS COMMISSION       2990-000         N/A             35.00           0.00          0.00

 Other - WADSWORTH, WARNER, CONRARDY, PC       3220-000         N/A            606.95         606.95       606.95

 Other - WADSWORTH, WARNER, CONRARDY, PC       3210-000         N/A         33,393.50      33,393.50     33,393.50

 Other - OKLAHOMA SEC OF STATE                 2990-000         N/A            100.00         100.00       100.00

 Other - Rabobank, N.A.                        2600-000         N/A          2,876.71       2,876.71      2,876.71

 Other - Rabobank, N.A.                        2600-000         N/A          2,876.71       2,876.71      2,876.71

 Other - Rabobank, N.A.                        2600-000         N/A          2,780.82       2,780.82      2,780.82

 Other - Rabobank, N.A.                        2600-000         N/A          3,164.38       3,164.38      3,164.38

 Other - Rabobank, N.A.                        2600-000         N/A          2,780.82       2,780.82      2,780.82

 Other - Rabobank, N.A.                        2600-000         N/A          3,068.49       3,068.49      3,068.49

 Other - Rabobank, N.A.                        2600-000         N/A          2,876.71       2,876.71      2,876.71

 Other - Rabobank, N.A.                        2600-000         N/A          2,780.82       2,780.82      2,780.82

 Other - Rabobank, N.A.                        2600-000         N/A          3,164.38       3,164.38      3,164.38

 Other - Rabobank, N.A.                        2600-000         N/A          2,684.93       2,684.93      2,684.93

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A             $176,119.24    $176,084.24   $176,084.24
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                              CLAIMS            CLAIMS          CLAIMS        CLAIMS
                                       TRAN.
                                                      SCHEDULED         ASSERTED        ALLOWED         PAID
                                       CODE
 United States Trustee                     6990-000       N/A                6,825.00       6,825.00      6,825.00

 ROSEFF LLC & ESBROOKE LLC                 6920-000       N/A                3,290.51       3,290.51      3,290.51

 ROSEFF TRUST AND ESBROOKE TRUST           6920-000       N/A                3,347.00       3,347.00      3,347.00

 GRANICKIN LLC                             6920-000       N/A                6,315.29       6,315.29      6,315.29

 LEXKIN LLC                                6920-000       N/A                2,650.88       2,650.88      2,650.88

 MARKUS WILLIAMS YOUNG & ZIMMERMAN,        6210-000       N/A               92,171.50      92,171.50     92,171.50
 LLC

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 MARKUS WILLIAMS YOUNG & ZIMMERMAN       6220-000       N/A                     2,938.08        2,938.08      2,938.08

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                 $117,538.26      $117,538.26   $117,538.26
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM       CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED             CLAIMS        CLAIMS
    NO.            CLAIMANT              TRAN.       (from Form        (from Proofs of      ALLOWED         PAID
                                         CODE            6E)                Claim)
      2      IRS                         5800-000       N/A                   63,662.24             0.00          0.00

      2 -2 IRS                           5800-000       N/A                  N/A                    0.00          0.00

     14P     Franchise Tax Board         5800-000       N/A                     2,501.02            0.00          0.00

     14P-2 Franchise Tax Board           5800-000       N/A                          1.02           1.02          1.02

     17      Ventura County Tax Collector 5800-000      N/A                   15,618.24             0.00          0.00

     17 -2 Ventura County Tax Collector 5800-000        N/A                     3,719.23        3,719.23      3,719.23

 TOTAL PRIORITY UNSECURED                                     $0.00          $85,501.75        $3,720.25     $3,720.25
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                        UNIFORM       CLAIMS             CLAIMS
   CLAIM                                             SCHEDULED          ASSERTED             CLAIMS        CLAIMS
    NO.            CLAIMANT              TRAN.       (from Form        (from Proofs of      ALLOWED         PAID
                                         CODE            6F)                Claim)
      1      Foot Locker Retail, Inc.    7100-000       N/A                7,000,000.00             0.00          0.00

      1 -2 Foot Locker Retail, Inc.      7100-000       N/A               21,089,249.35             0.00          0.00

      1 -3 Foot Locker Retail, Inc.      7100-000       N/A               21,089,249.35             0.00          0.00

      1 -4 Foot Locker Retail, Inc.      7100-000       N/A               21,089,249.35             0.00          0.00

      1 -5 Foot Locker Retail, Inc.      7100-000       N/A               21,668,943.35             0.00          0.00

      3      SBN Edge, LLC               7100-000       N/A                   27,303.32             0.00          0.00

      4      Stratford Holding LLC       7100-000       N/A               11,615,338.00             0.00          0.00

      5      BINK'M Company, LLC         7100-000       N/A                  N/A                    0.00          0.00

      6      SBN FCCG LLC                7100-000       N/A                  N/A                    0.00          0.00

      7      Summit Investment Management 7100-000      N/A                  N/A                    0.00          0.00
             LLC
     11      LEXKIN, LLC                  7100-000      N/A                  155,325.63             0.00          0.00

     12    Elaine K. Hall Revocable      7100-000       N/A                   75,000.00             0.00          0.00
           Trust
     12 -2 Elaine K. Hall Revocable      7100-000       N/A                1,200,000.00             0.00          0.00
           Trust
     14U   Franchise Tax Board           7300-000       N/A                        137.50           0.00          0.00

     14U-2 Franchise Tax Board           7300-000       N/A                        137.50         137.50          0.00



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     15       Tom H. Connolly,              7100-000   N/A                3,272,833.00    3,272,833.00    2,520,320.88

     16       Stratford Holding LLC         7100-000   N/A                  395,000.00            0.00            0.00

  8-UNSEC     ROSEFF LLC & ESBROOKE LLC     7100-000   N/A                    1,287.63        1,287.63        1,287.63

  9-UNSEC     ROSEFF TRUST AND ESBROOKE     7100-000   N/A                   25,943.25       25,943.25      25,943.25
              TRUST
 10-UNSEC     GRANICKIN LLC                 7100-000   N/A                   57,165.44       57,165.44      57,165.44

 NOTFILED     Santa Clara Water Division    7100-000         424.83         N/A                 N/A               0.00

 NOTFILED     Retail Solutions c/o Mayur A 7100-000            0.00         N/A                 N/A               0.00
              Shah
 NOTFILED     Rosenberg Martin Greenberg 7100-000            108.00         N/A                 N/A               0.00
              LLP
 NOTFILED     Dublin Crossroads c/o        7100-000            0.00         N/A                 N/A               0.00
              Shelter Bay Detail Group
 NOTFILED     Commercial Asset             7100-000            0.00         N/A                 N/A               0.00
              Preservation LLC
 NOTFILED     J&L Lawn Care                7100-000          300.00         N/A                 N/A               0.00

 NOTFILED     Piedmont Properties c/o Jim   7100-000           0.00         N/A                 N/A               0.00
              Plyler
 NOTFILED     Jayal Associates LP c/o       7100-000           0.00         N/A                 N/A               0.00
              First Winthrop Corporation
 NOTFILED     City of Baytown - Health      7100-000         839.78         N/A                 N/A               0.00
              Dept
 NOTFILED     City of Puyallup              7100-000         173.41         N/A                 N/A               0.00

 NOTFILED     Republic Services             7100-000         324.63         N/A                 N/A               0.00

 TOTAL GENERAL UNSECURED                                $2,170.65      $108,762,162.67   $3,357,366.82   $2,604,717.20
 CLAIMS




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                                                                                                                                                           Exhibit 8


                                                                      Form 1                                                                               Page: 1

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 16-13815-TBM                                                     Trustee:       (260020)      M. Stephen Peters, Trustee
Case Name:       SBN FOG CAP II, LLC                                          Filed (f) or Converted (c): 04/21/17 (c)
                                                                              §341(a) Meeting Date:        05/24/17
Period Ending: 11/20/18                                                       Claims Bar Date:             08/10/17

                               1                                 2                       3                      4                5                     6

                    Asset Description                         Petition/         Estimated Net Value         Property         Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled    (Value Determined By Trustee,   Abandoned         Received by       Administered (FA)/
                                                               Values         Less Liens, Exemptions,      OA=§554(a)         the Estate        Gross Value of
Ref. #                                                                            and Other Costs)                                             Remaining Assets

 1       Retail Building #B003 - 2213 S Caraway Road, Jon        Unknown                       0.00                                     0.00                   FA

 2       Retail Building #B005 - 3115 W Sunset Ave, Sprin        Unknown                       0.00                                     0.00                   FA

 3       Retail Building #B006 - 2926 E Main Street, Mesa        Unknown                       0.00                                     0.00                   FA

 4       Retail Building #B007- 2421 E Bell Road, Phoenix        Unknown                       0.00                                     0.00                   FA

 5       Retail Building #B014 -1692 E Sixth Street, Beau        Unknown                       0.00                                     0.00                   FA

 6       Retail Building #B016-18934 Soledad Canyon, Rd.,        Unknown                       0.00                                     0.00                   FA

 7       Retail Building #B022 -1343 No Fair Oaks Blvd, P        Unknown                       0.00                                     0.00                   FA

 8       Retail Building #B023 - 291 E Baseline Rd, Rialt        Unknown                       0.00                                     0.00                   FA

 9       Retail Building #B025 -1499 W Arrow Hwy, San Dim        Unknown                       0.00                                     0.00                   FA

10       Retail Building #B029 - 494 Los Angeles Ave, Sim        Unknown                       0.00                                     0.00                   FA

11       Retail Building #B030 - 969 Waterloo Rd, Stockto        Unknown                       0.00                                     0.00                   FA

12       Retail Building #B032 - 57085 29 Palms Hwy, Yucc        Unknown                       0.00                                     0.00                   FA

13       Retail Building #B033 -16710 E Miff Ave, Aurora,        Unknown                       0.00                                     0.00                   FA

14       Retail Building #B034 - 2950 N Garfield Ave, Lov        Unknown                       0.00                                     0.00                   FA

15       Retail Building #B035 -1221 S. Pueblo Blvd, Pueb        Unknown                       0.00                                     0.00                   FA

16       Retail Building #B036 - 50 NE 8th St, Homestead,        Unknown                       0.00                                     0.00                   FA

17       Retail Building #B039 -1819 S Semoran Blvd, Orla        Unknown                       0.00                                     0.00                   FA

18       Retail Building #B040 - 5328 North Davis Hwy, Pe        Unknown                       0.00                                     0.00                   FA

19       Retail Building #B042 - 744 Bankhead Hwy, Carrol        Unknown                       0.00                                     0.00                   FA

20       Retail Building #B054 - 4800 West Bank Expresswa        Unknown                       0.00                                     0.00                   FA

21       Retail Building #B058 -7109 Martin Luther King J        Unknown                       0.00                                     0.00                   FA

22       Retail Building #B059 -13610 Annapolis Rd, #3, B        Unknown                       0.00                                     0.00                   FA

23       Retail Building #B060 - 6285 Oxon Hill Rd, Oxon         Unknown                       0.00                                     0.00                   FA

24       Retail Building #B069 - 729 N E Rice Rd, Lee's S        Unknown                       0.00                                     0.00                   FA

25       Retail Building #B071 -11095 New Halls Ferry Rd,        Unknown                       0.00                                     0.00                   FA

26       Retail Building #B073 - 4625 4th Street NW, Albu        Unknown                       0.00                                     0.00                   FA

27       Retail Building #B074 -2130 Juan Tabo Blvd, Albu        Unknown                       0.00                                     0.00                   FA



                                                                                                                           Printed: 11/20/2018 01:47 PM     V.13.32
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                                                                                                                                                            Exhibit 8


                                                                       Form 1                                                                               Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 16-13815-TBM                                                      Trustee:         (260020)    M. Stephen Peters, Trustee
Case Name:        SBN FOG CAP II, LLC                                          Filed (f) or Converted (c): 04/21/17 (c)
                                                                               §341(a) Meeting Date:        05/24/17
Period Ending: 11/20/18                                                        Claims Bar Date:             08/10/17

                               1                                 2                         3                     4                5                     6

                    Asset Description                         Petition/          Estimated Net Value         Property         Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)           Unscheduled     (Value Determined By Trustee,   Abandoned         Received by       Administered (FA)/
                                                               Values          Less Liens, Exemptions,      OA=§554(a)         the Estate        Gross Value of
Ref. #                                                                             and Other Costs)                                             Remaining Assets

28       Retail Building #B075 - 4300 E Charleston Blvd,         Unknown                           0.00                                  0.00                   FA

29       Retail Building #B080 -2412 No 14th St, Ponca Ci        Unknown                           0.00                                  0.00                   FA

30       Retail Building #B081 - 702 N Perkins Rd, Stillw        Unknown                           0.00                                  0.00                   FA

31       Retail Building #B088 - 4026 Legbanon Pike, Herm        Unknown                           0.00                                  0.00                   FA

32       Retail Building #B091 -13748 Research Blvd, Aust        Unknown                           0.00                                  0.00                   FA

33       Retail Building #B092 -1310 Garth Rd, Baytown, T        Unknown                           0.00                                  0.00                   FA

34       Retail Building #B093 . 4494 Hwy 6th North, Bear        Unknown                           0.00                                  0.00                   FA

35       Retail Building #B095 -10968 Montwood Dr, El Pas        Unknown                           0.00                                  0.00                   FA

36       Retail Building #B096 - 421 No. Zaragosa Rd, El         Unknown                           0.00                                  0.00                   FA

37       Retail Building #B098 -1724 F.M. 1960 West, Hous        Unknown                           0.00                                  0.00                   FA

38       Retail Building #B107 - 491 Elden Street, Herndo        Unknown                           0.00                                  0.00                   FA

39       Retail Building #B108 -819 River Rd, Puyallup, W        Unknown                           0.00                                  0.00                   FA

40       Retail Building #B067 - 7927 No. Lindbergh Blvd,        Unknown                           0.00                                  0.00                   FA

41       SBN Fog Cap II Operating Account Account at Bank        3,696.69                      3,696.69                                  0.00                   FA
          AMOUNT CONSUMED DURING CH. 11 PHASE OF
         CASE

42       SBN Fog Cap II Tax Escrow Account Account at Wel       97,266.04                   97,266.04                                    0.00                   FA
          AMOUNT CONSUMED DURING CH. 11 PHASE OF
         CASE

43       Account at Bank of America - SBN FOG CAP Deposit      493,117.45                  493,117.45                                    0.00                   FA
          AMOUNT CONSUMED DURING CH. 11 PHASE OF
         CASE

44       Prepaid Rents                                          87,817.87                   87,817.87                                    0.00                   FA
          AMOUNT CONSUMED DURING CH. 11 PHASE OF
         CASE

45       A/R 90 days old or less. Face amount = $27,856.2       25,362.98                   25,362.98                                    0.00                   FA
          AMOUNT COLLECTED AND CONSUMED DURING
         CH. 11 PHASE OF CASE

46       PROCEEDS FROM CT APPROVED SALE OF                   2,901,706.90                 2,901,706.90                         2,901,706.90                     FA
         LEASES
          REPRESENTS PROCEEDS LEFT OVER FROM


                                                                                                                            Printed: 11/20/2018 01:47 PM     V.13.32
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                                                                                                                                                                         Exhibit 8


                                                                                Form 1                                                                                   Page: 3

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 16-13815-TBM                                                               Trustee:       (260020)      M. Stephen Peters, Trustee
Case Name:        SBN FOG CAP II, LLC                                                   Filed (f) or Converted (c): 04/21/17 (c)
                                                                                        §341(a) Meeting Date:        05/24/17
Period Ending: 11/20/18                                                                 Claims Bar Date:             08/10/17

                               1                                         2                         3                       4                    5                    6

                     Asset Description                                Petition/           Estimated Net Value         Property             Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled      (Value Determined By Trustee,   Abandoned             Received by       Administered (FA)/
                                                                       Values           Less Liens, Exemptions,      OA=§554(a)             the Estate        Gross Value of
Ref. #                                                                                      and Other Costs)                                                 Remaining Assets

          PRE-CONVERSION SALE OF DEBTOR'S
          LEASEHOLD INTERESTS IN PROPERTIES
          INCLUDING THOSE IN #1-40 ABOVE PER ORDERS
          OF 10-14-16 DOCKETS 284 AND 285

47        REFUND OF LEASE SEC DEP (u)                                         0.00                     353.05                                       353.05                   FA

 47      Assets      Totals (Excluding unknown values)               $3,608,967.93              $3,609,320.98                               $2,902,059.95                 $0.00



      Major Activities Affecting Case Closing:

                  05/14/18 waiting on claims objections and wrap up of case

      Initial Projected Date Of Final Report (TFR):      April 1, 2018                    Current Projected Date Of Final Report (TFR):       March 28, 2018 (Actual)




                                                                                                                                          Printed: 11/20/2018 01:47 PM    V.13.32
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                                                                                                                                                                       Exhibit 9


                                                                            Form 2                                                                                     Page: 1

                                               Cash Receipts And Disbursements Record
Case Number:        16-13815-TBM                                                           Trustee:            M. Stephen Peters, Trustee (260020)
Case Name:          SBN FOG CAP II, LLC                                                    Bank Name:          Rabobank, N.A.
                                                                                           Account:            ******4766 - Checking Account
Taxpayer ID #: **-***7810                                                                  Blanket Bond:       $48,104,231.00 (per case limit)
Period Ending: 11/20/18                                                                    Separate Bond: N/A

   1            2                         3                                 4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                  Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction              T-Code              $                   $       Account Balance
05/01/17      {46}       DEBTOR IN POSSESSION          DEBTOR IN POSSESSION PROCEEDS                  1129-000         2,901,706.90                           2,901,706.90
05/25/17      {47}       REPUBLIC SERVICES             REFUND FROM LEASE SEC DEP                      1229-000                 353.05                         2,902,059.95
05/31/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,876.71    2,899,183.24
06/30/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,876.71    2,896,306.53
07/31/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,780.82    2,893,525.71
08/31/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    3,164.38    2,890,361.33
09/22/17      101        MARKUS WILLIAMS YOUNG &       CH. 11 DIP ATTY FEES PER 9-21-17               6210-000                                   92,171.50    2,798,189.83
                         ZIMMERMAN, LLC                ORDER, DOCKET #772
09/22/17      102        MARKUS WILLIAMS YOUNG &       CH. 11 DIP ATTY EXP PER 9-21-17 ORDER,         6220-000                                    2,938.08    2,795,251.75
                         ZIMMERMAN                     DOCKET #772
09/29/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,780.82    2,792,470.93
10/31/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    3,068.49    2,789,402.44
11/30/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,876.71    2,786,525.73
12/08/17      103        INTERNATIONAL SURETIES, LTD   2017 BOND PAYMENT: BASED ON 9-30-17            2300-000                                       837.77   2,785,687.96
                                                       ACCOUNT BALANCE
12/29/17                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,780.82    2,782,907.14
01/31/18                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    3,164.38    2,779,742.76
02/28/18                 Rabobank, N.A.                Bank and Technology Services Fee               2600-000                                    2,684.93    2,777,057.83
03/16/18      104        ROSEFF LLC & ESBROOKE LLC     ADMIN EX ALLOWED PER 3-9-18 ORDER,             6920-000                                    3,290.51    2,773,767.32
                                                       DOCKET # 834
03/16/18      105        ROSEFF TRUST AND ESBROOKE     ADMIN EX ALLOWED PER 3-9-18 ORDER,             6920-000                                    3,347.00    2,770,420.32
                         TRUST                         DOCKET # 834
03/16/18      106        GRANICKIN LLC                 ADMIN EX ALLOWED PER 3-9-18 ORDER,             6920-000                                    6,315.29    2,764,105.03
                                                       DOCKET # 834
03/16/18      107        LEXKIN LLC                    ADMIN EX ALLOWED PER 3-9-18 ORDER,             6920-000                                    2,650.88    2,761,454.15
                                                       DOCKET # 834
03/16/18      108        ROSEFF LLC & ESBROOKE LLC     UNSEC CLAIM ALLOWED PER 3-9-18                 7100-000                                    1,287.63    2,760,166.52
                                                       ORDER, DOCKET # 834
03/16/18      109        ROSEFF TRUST AND ESBROOKE     UNSEC CLAIM ALLOWED PER 3-9-18                 7100-000                                   25,943.25    2,734,223.27
                         TRUST                         ORDER, DOCKET # 834
03/16/18      110        GRANICKIN LLC                 UNSEC CLAIM ALLOWED PER 3-9-18                 7100-000                                   57,165.44    2,677,057.83
                                                       ORDER, DOCKET # 834
03/28/18      111        ARIZONA CORPORATIONS          TERMINATION OF BUS. FILING FEE                 2990-004                                        35.00   2,677,022.83
                         COMMISSION                    Voided on 05/23/18
03/28/18      112        OKLAHOMA SEC OF STATE         BUSINESS TERMATION FILING FEE                  2990-000                                       100.00   2,676,922.83
04/10/18      113        CALIFORNIA FRANCHISE TAX      "FEE" FOR 2018 FOR LICENSE TO DO BUS           2820-000                                       800.00   2,676,122.83
                         BOARD                         IN CA FTB 2018 FORM 3522. SOS
                                                       201414210440

                                                                                           Subtotals :                $2,902,059.95        $225,937.12
{} Asset reference(s)                                                                                                               Printed: 11/20/2018 01:47 PM        V.13.32
              Case:16-13815-TBM Doc#:884 Filed:11/30/18                                             Entered:11/30/18 11:04:17 Page11 of 11

                                                                                                                                                                             Exhibit 9


                                                                              Form 2                                                                                         Page: 2

                                                  Cash Receipts And Disbursements Record
Case Number:        16-13815-TBM                                                                 Trustee:            M. Stephen Peters, Trustee (260020)
Case Name:          SBN FOG CAP II, LLC                                                          Bank Name:          Rabobank, N.A.
                                                                                                 Account:            ******4766 - Checking Account
Taxpayer ID #: **-***7810                                                                        Blanket Bond:       $48,104,231.00 (per case limit)
Period Ending: 11/20/18                                                                          Separate Bond: N/A

   1            2                           3                                   4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From             Description of Transaction                  T-Code              $                  $       Account Balance
05/23/18      111        ARIZONA CORPORATIONS           TERMINATION OF BUS. FILING FEE                      2990-004                                       -35.00   2,676,157.83
                         COMMISSION                     Voided: check issued on 03/28/18
07/12/18      114        WADSWORTH, WARNER,             ATTY EXPENSES PER 7-12-18 ORDER,                    3220-000                                       606.95   2,675,550.88
                         CONRARDY, PC                   DOCKET # 875
07/12/18      115        WADSWORTH, WARNER,             ATTY FEES PER 7-12-18 ORDER, DOCKET                 3210-000                                   33,393.50    2,642,157.38
                         CONRARDY, PC                   # 875
09/11/18      116        M. Stephen Peters, Trustee     Dividend paid 100.00% on $979.45, Trustee           2200-000                                       979.45   2,641,177.93
                                                        Expenses; Reference:
09/11/18      117        M. Stephen Peters, Trustee     Dividend paid 100.00% on $110,311.80,               2100-000                                 110,311.80     2,530,866.13
                                                        Trustee Compensation; Reference:
09/11/18      118        United States Trustee          Dividend paid 100.00% on $6,825.00, Other           6990-000                                    6,825.00    2,524,041.13
                                                        Prior Chapter Administrative Expenses;
                                                        Reference:
09/11/18      119        Ventura County Tax Collector   Dividend paid 100.00% on $3,719.23; Claim#          5800-000                                    3,719.23    2,520,321.90
                                                        17 -2; Filed: $3,719.23; Reference:
09/11/18      120        Tom H. Connolly,               Dividend paid 77.00% on $3,272,833.00;              7100-000                             2,520,320.88                   1.02
                                                        Claim# 15; Filed: $3,272,833.00; Reference:
09/11/18      121        U.S. Bankruptcy Court          COMBINED SMALL CHECK                                5800-000                                         1.02               0.00

                                                                             ACCOUNT TOTALS                                  2,902,059.95        2,902,059.95                  $0.00
                                                                                     Less: Bank Transfers                             0.00                   0.00
                                                                             Subtotal                                        2,902,059.95        2,902,059.95
                                                                                     Less: Payments to Debtors                                               0.00
                                                                             NET Receipts / Disbursements                   $2,902,059.95       $2,902,059.95



                                                                                                                                   Net             Net                   Account
                                                                             TOTAL - ALL ACCOUNTS                                Receipts     Disbursements              Balances

                                                                             Checking # ******4766                           2,902,059.95        2,902,059.95                   0.00

                                                                                                                            $2,902,059.95       $2,902,059.95                  $0.00




{} Asset reference(s)                                                                                                                     Printed: 11/20/2018 01:47 PM        V.13.32
